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          EXHIBIT 22
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       JOHNSON & JOHNSON



                               FORM      10-K
                                (Annual Report)




Filed 02/24/16 for the Period Ending 01/03/16


   Address         ONE JOHNSON & JOHNSON PLZ
                   NEW BRUNSWICK, NJ 08933
Telephone          732-524-2455
        CIK        0000200406
    Symbol         JNJ
 SIC Code          2834 - Pharmaceutical Preparations
   Industry        Biotechnology & Drugs
     Sector        Healthcare
Fiscal Year        01/01




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                                                 UNITED STATES
                                                        SECURITIES AND EXCHANGE COMMISSION
                                                                 Washington, D.C. 20549
                                                                                   FORM 10-K
                                                  ANNUAL REPORT PURSUANT TO SECTION 13 OF
                                                    THE SECURITIES EXCHANGE ACT OF 1934
For the fiscal year ended January 3, 2016                                                                                                                Commission file number 1-3215

                                                                  JOHNSON & JOHNSON
                                                                   (Exact name of registrant as specified in its charter)

                                   New Jersey                                                                                             XX-XXXXXXX
                               (State of incorporation)                                                                         (I.R.S. Employer Identification No.)
                       One Johnson & Johnson Plaza
                        New Brunswick, New Jersey                                                                                             08933
                       (Address of principal executive offices)                                                                             (Zip Code)
                                                       Registrant’s telephone number, including area code: (732) 524-0400

                                           SECURITIES REGISTERED PURSUANT TO SECTION 12(b) OF THE ACT
                                 Title of each class                                                                        Name of each exchange on which registered
                       Common Stock, Par Value $1.00                                                                              New York Stock Exchange
                      4.75% Notes Due November 2019                                                                               New York Stock Exchange
                      5.50% Notes Due November 2024                                                                               New York Stock Exchange
     Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes þ
 No o
     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Exchange Act. Yes o
 No þ
     Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Exchange Act during the preceding
12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past
90 days. Yes þ
 No o
     Indicate by check mark whether the registrant has submitted electronically and posted on its corporate website, if any, every Interactive Data File required to
be submitted and posted pursuant to Rule 405 of Regulation S-T during the preceding 12 months (or for such shorter period that the registrant was required to
submit and post such files). Yes þ
 No o
     Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be contained, to the best
of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-
K. þ
     Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See the
definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the Exchange Act.
                       Large accelerated filer þ
 Accelerated filer o
 Non-accelerated filer o
 Smaller reporting company o
                                                                                            (Do not check if a smaller reporting company)
     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes o
 No þ
     The aggregate market value of the Common Stock held by non-affiliates computed by reference to the price at which the Common Stock was last sold as of
the last business day of the registrant’s most recently completed second fiscal quarter was approximately $276 billion.
     On February 19, 2016, there were 2,759,359,192 shares of Common Stock outstanding.
                                                       DOCUMENTS INCORPORATED BY REFERENCE

Parts I and III:               Portions of registrant’s proxy statement for its 2016 annual meeting of shareholders filed within 120 days after the close of the
                               registrant’s fiscal year (the "Proxy Statement"), are incorporated by reference to this report on Form 10-K (this "Report").
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                                                                                PART I

Item 1.       BUSINESS

General
        Johnson & Johnson and its subsidiaries (the "Company") have approximately 127,100 employees worldwide engaged in the research and development,
manufacture and sale of a broad range of products in the health care field. Johnson & Johnson is a holding company, which has more than 250 operating companies
conducting business in virtually all countries of the world. The Company’s primary focus is products related to human health and well-being. Johnson & Johnson
was incorporated in the State of New Jersey in 1887.
         The Executive Committee of Johnson & Johnson is the principal management group responsible for the strategic operations and allocation of the
resources of the Company. This Committee oversees and coordinates the activities of the Company's three business segments: Consumer, Pharmaceutical and
Medical Devices. Within the strategic parameters provided by the Committee, senior management groups at U.S. and international operating companies are each
responsible for their own strategic plans and the day-to-day operations of those companies. Each subsidiary within the business segments is, with limited
exceptions, managed by residents of the country where located.

Segments of Business
         The Company is organized into three business segments: Consumer, Pharmaceutical and Medical Devices. Additional information required by this item is
incorporated herein by reference to the narrative and tabular descriptions of segments and operating results under: Item 7 “Management’s Discussion and Analysis
of Results of Operations and Financial Condition” of this Report; and Note 18 “Segments of Business and Geographic Areas” of the Notes to Consolidated
Financial Statements included in Item 8 of this Report.

Consumer
          The Consumer segment includes a broad range of products used in the baby care, oral care, skin care, over-the-counter pharmaceutical, women’s health
and wound care markets. Baby Care includes the JOHNSON’S ® line of products. Oral Care includes the LISTERINE ® product line. Major brands in Skin Care
include the AVEENO ® ; CLEAN & CLEAR ® ; DABAO ™ ; JOHNSON’S ® Adult; LE PETITE MARSEILLAIS ® ; LUBRIDERM ® ; NEUTROGENA ® ; and
RoC ® product lines. Over-the-counter medicines include the broad family of TYLENOL ® acetaminophen products; SUDAFED ® cold, flu and allergy products;
BENADRYL ® and ZYRTEC ® allergy products; MOTRIN ® IB ibuprofen products; and the PEPCID ® line of heartburn products. Major brands in Women’s
Health outside of North America are STAYFREE ® and CAREFREE ® sanitary pads and o.b. ® tampon brands. Wound Care brands include the BAND-AID ®
Brand Adhesive Bandages and NEOSPORIN ® First Aid product lines. These products are marketed to the general public and sold both to retail outlets and
distributors throughout the world.

Pharmaceutical
          The Pharmaceutical segment is focused on five therapeutic areas: immunology (e.g., rheumatoid arthritis, inflammatory bowel disease and psoriasis),
infectious diseases and vaccines (e.g., HIV, hepatitis, respiratory infections and tuberculosis), neuroscience (e.g., Alzheimer's disease, mood disorders and
schizophrenia), oncology (e.g., prostate cancer, hematologic malignancies and lung cancer), and cardiovascular and metabolic diseases (e.g., thrombosis and
diabetes). Products in this segment are distributed directly to retailers, wholesalers, hospitals and health care professionals for prescription use. Key products in the
Pharmaceutical segment include: REMICADE ® (infliximab), a treatment for a number of immune-mediated inflammatory diseases; SIMPONI ® (golimumab), a
subcutaneous treatment for adults with moderate to severe rheumatoid arthritis, active psoriatic arthritis, active ankylosing spondylitis and moderately active to
severely active ulcerative colitis; SIMPONI ARIA ® (golimumab), an intravenous treatment for adults with moderate to severe rheumatoid arthritis; STELARA ®
(ustekinumab), a treatment for adults with moderate to severe plaque psoriasis and active psoriatic arthritis, and for adolescents with moderate to severe psoriasis;
OLYSIO ® /SOVRIAD ® (simeprevir), for combination treatment of chronic hepatitis C in adult patients; PREZISTA ® (darunavir), EDURANT ® (rilpivirine), and
PREZCOBIX ® /REZOLSTA ® (darunavir/cobicistat), antiretroviral medicines for the treatment of human immunodeficiency virus (HIV-1) in combination with
other antiretroviral products; SIRTURO ® (bedaquiline), a diarylquinoline antimycobacterial drug indicated as part of combination therapy in adults (>18 years)
with pulmonary multi-drug resistant tuberculosis (MDR-TB); CONCERTA ® (methylphenidate HCl) extended-release tablets CII, a treatment for attention deficit
hyperactivity disorder; INVEGA ® (paliperidone) extended-release tablets, for the treatment of schizophrenia and schizoaffective disorder; INVEGA SUSTENNA
® /XEPLION ® (paliperidone palmitate), for the treatment of schizophrenia and schizoaffective disorder in adults; INVEGA TRINZA ® (paliperidone palmitate),

for the treatment of schizophrenia in patients after they have been adequately treated with INVEGA SUSTENNA ® for at least four months; RISPERDAL
CONSTA ® (risperidone long-acting injection), for the treatment of



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schizophrenia and the maintenance treatment of Bipolar 1 Disorder in adults; VELCADE ® (bortezomib), a treatment for multiple myeloma and for use in
combination with rituximab, cyclophosphamide, doxorubicin and prednisone for the treatment of adult patients with previously untreated mantle cell lymphoma;
ZYTIGA ® (abiraterone acetate), used in combination with prednisone as a treatment for metastatic castration-resistant prostate cancer; IMBRUVICA ® (ibrutinib),
an oral, once-daily therapy approved for use in treating certain B-cell malignancies, or blood cancers, and Waldenström's Macroglobulinemia; DARZALEX TM
(daratumumab), for the treatment of double refractory multiple myeloma; YONDELIS ® (trabectedin), for the treatment of patients with unresectable or metastatic
liposarcoma or leiomyosarcoma who received a prior anthracycline-containing regimen; PROCRIT ® (epoetin alfa, sold outside the U.S. as EPREX ® ), to stimulate
red blood cell production; XARELTO ® (rivaroxaban), an oral anticoagulant for the prevention of deep vein thrombosis (DVT), which may lead to pulmonary
embolism (PE) in patients undergoing hip or knee replacement surgery, to reduce the risk of stroke and systemic embolism in patients with nonvalvular atrial
fibrillation, for the treatment and reduction of risk of recurrence of DVT and PE; INVOKANA ® (canagliflozin), for the treatment of adults with type 2 diabetes;
and INVOKAMET ® /VOKANAMET ® (canagliflozin/metformin HCl), a combination therapy of fixed doses of canagliflozin and metformin hydrochloride for the
treatment of adults with type 2 diabetes. Many of these medicines were developed in collaboration with strategic partners or are licensed from other companies and
maintain active lifecycle development programs.

Medical Devices
          The Medical Devices segment includes a broad range of products used in the orthopaedic, surgery, cardiovascular, diabetes care and vision care fields.
These products are distributed to wholesalers, hospitals and retailers, and used principally in the professional fields by physicians, nurses, hospitals, eye care
professionals and clinics. They include orthopaedic products; general surgery, biosurgical, endomechanical and energy products; electrophysiology products to
treat cardiovascular disease; sterilization and disinfection products to reduce surgical infection; diabetes care products, such as blood glucose monitoring and
insulin delivery products; and disposable contact lenses.

Geographic Areas
         The business of Johnson & Johnson is conducted by more than 250 operating companies located in 60 countries, including the U.S., in virtually all
countries throughout the world. The products made and sold in the international business include many of those described above under “– Segments of Business –
Consumer,” “– Pharmaceutical” and “– Medical Devices.” However, the principal markets, products and methods of distribution in the international business vary
with the country and the culture. The products sold in international business include those developed in the United States and by subsidiaries abroad.
       Investments and activities in some countries outside the U.S. are subject to higher risks than comparable U.S. activities because the investment and
commercial climate may be influenced by financial instability in international economies, restrictive economic policies and political and legal system uncertainties.

Raw Materials
         Raw materials essential to the Company's business are generally readily available from multiple sources. Where there are exceptions, the temporary
unavailability of those raw materials would not likely have a material adverse effect on the financial results of the Company.

Patents
         The Company's subsidiaries have made a practice of obtaining patent protection on their products and processes where possible. They own or are licensed
under a number of patents relating to their products and manufacturing processes, which in the aggregate are believed to be of material importance to the Company
in the operation of its businesses. Sales of the Company’s largest product, REMICADE ® (infliximab), accounted for approximately 9.4% of the Company's total
revenues for fiscal 2015. Accordingly, the patents related to this product are believed to be material to the Company.

          There are two sets of patents related specifically to REMICADE ® (infliximab). The first set of patents is co-owned by Janssen Biotech, Inc., a wholly-
owned subsidiary of Johnson & Johnson, and NYU Langone Medical Center (NYU). Janssen Biotech, Inc. has an exclusive license to NYU's interests in the
patents. These patents have expired in all countries outside the United States. In the United States, the latest of these patents expires in September 2018 and this
patent stands rejected and is subject to reexamination proceedings instituted by a third party in the United States Patent and Trademark Office. Those proceedings
are on going.

          The second set of patents specifically related to REMICADE ® was granted to The Kennedy Institute of Rheumatology in Europe, Canada, Australia and
the United States. Janssen Biotech, Inc. has licenses (exclusive for human anti-TNF antibodies and semi-exclusive for non-human anti-TNF antibodies) to these
patents that expire in 2017 outside of the United



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States and 2018 in the United States. The validity of these patents has been challenged. Certain claims have been invalidated and others are under review in various
patent offices around the world and are also subject to litigation in Canada.

          The Company does not expect that any additional extensions will be available for the above described patents specifically related to REMICADE ® . If
any of the REMICADE ® related patents discussed above is found to be invalid, any such patent could not be relied upon to prevent the introduction of biosimilar
versions of REMICADE ® . For a more extensive description of legal matters regarding the patents related to REMICADE ® , see Note 21 “Legal Proceedings –
Intellectual Property – Pharmaceutical – REMICADE ® Related Cases” of the Notes to Consolidated Financial Statements included in Item 8 of this Report.

        In addition to competing in the immunology market with REMICADE ® , the Company is currently marketing STELARA ® (ustekinumab), SIMPONI ®
(golimumab) and SIMPONI ARIA ® (golimumab), next generation immunology products with remaining patent lives of up to eight years.

Trademarks
         The Company’s subsidiaries have made a practice of selling their products under trademarks and of obtaining protection for these trademarks by all
available means. These trademarks are protected by registration in the United States and other countries where such products are marketed. The Company
considers these trademarks in the aggregate to be of material importance in the operation of its businesses.

Seasonality
          Worldwide sales do not reflect any significant degree of seasonality; however, spending has been heavier in the fourth quarter of each year than in other
quarters. This reflects increased spending decisions, principally for advertising and research and development activity.

Competition
         In all of their product lines, the Company's subsidiaries compete with companies both locally and globally. Competition exists in all product lines without
regard to the number and size of the competing companies involved. Competition in research, both internally and externally sourced, involving the development
and the improvement of new and existing products and processes, is particularly significant. The development of new and innovative products, as well as
protecting the underlying intellectual property of the Company’s product portfolio, is important to the Company's success in all areas of its business. The
competitive environment requires substantial investments in continuing research. In addition, the development and maintenance of customer demand for the
Company’s consumer products involve significant expenditures for advertising and promotion.

Research and Development
           Research activities represent a significant part of the Company’s businesses. Research and development expenditures relate to the processes of
discovering, testing and developing new products, improving existing products, as well as demonstrating product efficacy and regulatory compliance prior to
launch. The Company remains committed to investing in research and development with the aim of delivering high quality and innovative products. Worldwide
costs of research and development activities amounted to $9.0 billion, $8.5 billion and $8.2 billion for fiscal years 2015, 2014 and 2013, respectively. Research
facilities are located in the United States, Belgium, Brazil, Canada, China, France, Germany, India, Israel, Japan, the Netherlands, Singapore, Switzerland and the
United Kingdom.

Environment
          The Company is subject to a variety of U.S. and international environmental protection measures. The Company believes that its operations comply in all
material respects with applicable environmental laws and regulations. The Company’s compliance with these requirements did not change during the past year, and
is not expected to have a material effect upon its capital expenditures, cash flows, earnings or competitive position.

Regulation
          The Company’s businesses are subject to varying degrees of governmental regulation in the countries in which operations are conducted, and the general
trend is toward increasingly stringent regulation. In the U.S., the drug, device and cosmetic industries have long been subject to regulation by various federal and
state agencies, primarily as to product safety, efficacy, manufacturing, advertising, labeling and safety reporting. The exercise of broad regulatory powers by the
U.S. Food and Drug Administration (the "FDA") continues to result in increases in the amounts of testing and documentation required for



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FDA approval of new drugs and devices and a corresponding increase in the expense of product introduction. Similar trends are also evident in major markets
outside of the U.S.
          The costs of human health care have been and continue to be a subject of study, investigation and regulation by governmental agencies and legislative
bodies around the world. In the U.S., attention has been focused on drug prices and profits and programs that encourage doctors to write prescriptions for particular
drugs, or to recommend, use or purchase particular medical devices. Payers have become a more potent force in the market place and increased attention is being
paid to drug and medical device pricing, appropriate drug and medical device utilization and the quality and costs of health care generally.
         U.S. government agencies continue to implement the extensive requirements of the Patient Protection and Affordable Care Act (the "ACA"). These have
both positive and negative impacts on the U.S. healthcare industry with much remaining uncertain as to how various provisions of the ACA will ultimately affect
the industry.
         The regulatory agencies under whose purview the Company operates have administrative powers that may subject it to actions such as product
withdrawals, recalls, seizure of products and other civil and criminal sanctions. In some cases, the Company’s subsidiaries may deem it advisable to initiate
product recalls.
          In addition, business practices in the health care industry have come under increased scrutiny, particularly in the United States, by government agencies
and state attorneys general, and resulting investigations and prosecutions carry the risk of significant civil and criminal penalties.
        Further, the Company relies on global supply chains, and production and distribution processes, that are complex, are subject to increasing regulatory
requirements that may affect sourcing, supply and pricing of materials used in the Company's products. These processes also are subject to lengthy regulatory
approvals.

Available Information
          The Company’s main corporate website address is www.jnj.com. Copies of the Company’s Quarterly Reports on Form 10-Q, Annual Report on Form 10-
K and Current Reports on Form 8-K filed or furnished to the U.S. Securities and Exchange Commission (the "SEC"), and any amendments to the foregoing, will be
provided without charge to any shareholder submitting a written request to the Secretary at the principal executive offices of the Company or by calling 1-800-950-
5089. All of the Company’s SEC filings are also available on the Company’s website at www.investor.jnj.com/gov/sec-filings.cfm , as soon as reasonably
practicable after having been electronically filed or furnished to the SEC. All SEC filings are also available at the SEC’s website at www.sec.gov . In addition, the
written charters of the Audit Committee, the Compensation & Benefits Committee, the Nominating & Corporate Governance Committee, the Regulatory,
Compliance & Government Affairs Committee and the Science, Technology & Sustainability Committee of the Board of Directors and the Company’s Principles
of Corporate Governance, Code of Business Conduct (for employees), Code of Business Conduct & Ethics for Members of the Board of Directors and Executive
Officers, and other corporate governance materials, are available at www.investor.jnj.com/gov/materials.cfm on the Company's website and will be provided
without charge to any shareholder submitting a written request, as provided above. The information on the Company’s website is not, and will not be deemed, a
part of this Report or incorporated into any other filings the Company makes with the SEC.

Item 1A.       RISK FACTORS
          The Company faces a number of uncertainties and risks that are difficult to predict and many of which are outside of the Company's control. In addition to
the other information in this Report and the Company’s other filings with the SEC, investors should consider carefully the factors set forth in Exhibit 99 to this
Report. Investors should realize that if known or unknown risks or uncertainties materialize, the Company’s business, results of operations or financial condition
could be adversely affected.

Item 1B.       UNRESOLVED STAFF COMMENTS
           Not applicable.




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Item 2.                PROPERTIES

           The Company's subsidiaries operate 121 manufacturing facilities occupying approximately 21.3 million square feet of floor space. The manufacturing
facilities are used by the industry segments of the Company’s business approximately as follows:
                                                                                                                                                        Square Feet
   Segment                                                                                                                                            (in thousands)
Consumer                                                                                                                                                           6,942
Pharmaceutical                                                                                                                                                     7,435
Medical Devices                                                                                                                                                    6,919
          Worldwide Total                                                                                                                                        21,296

        Within the United States, eight facilities are used by the Consumer segment, eight by the Pharmaceutical segment and 20 by the Medical Devices
segment. Outside of the United States, 30 facilities are used by the Consumer segment, 18 by the Pharmaceutical segment and 37 by the Medical Devices segment.

          The locations of the manufacturing facilities by major geographic areas of the world are as follows:

                                                                                                                                                          Square Feet
Geographic Area                                                                                                               Number of Facilities      (in thousands)
United States                                                                                                                                  36                  5,808
Europe                                                                                                                                         38                  7,917
Western Hemisphere, excluding U.S.                                                                                                             14                  2,815
Africa, Asia and Pacific                                                                                                                       33                  4,756
          Worldwide Total                                                                                                                    121                 21,296

        In addition to the manufacturing facilities discussed above, the Company maintains numerous office and warehouse facilities throughout the world.
Research facilities are also discussed in Item 1 of this Report under “Business – Research and Development.”
        The Company's subsidiaries generally seek to own their manufacturing facilities, although some, principally in non-U.S. locations, are leased. Office and
warehouse facilities are often leased. The Company also engages contract manufacturers.
          The Company is committed to maintaining all of its properties in good operating condition and repair, and the facilities are well utilized.
         McNEIL-PPC, Inc. (now Johnson & Johnson Consumer Inc.) (McNEIL-PPC) continues to operate under a consent decree, signed in 2011 with the FDA,
which governs certain McNeil Consumer Healthcare manufacturing operations, and requires McNEIL-PPC to remediate the facilities it operates in Lancaster,
Pennsylvania, Fort Washington, Pennsylvania, and Las Piedras, Puerto Rico (the "Consent Decree"). The Fort Washington facility was voluntarily shut down in
April 2010, and subsequently many products were transferred to other manufacturing sites and successfully reintroduced to the market. After McNEIL-PPC
successfully completed all requirements contained in the Consent Decree Workplans for the Lancaster and Las Piedras manufacturing sites and completed the steps
required for third-party certification of the Fort Washington plant, a third-party cGMP expert submitted written certifications to the FDA for all three
manufacturing sites. Following FDA inspections in 2015, McNEIL-PPC received notifications from the FDA that all three manufacturing facilities are in
conformity with applicable laws and regulations. Commercial production in Fort Washington started as of September 2015.
          Under the Consent Decree, after receiving notice from the FDA of being in compliance with applicable laws and regulations, each of the three facilities is
subject to a five-year audit period by a third-party cGMP expert. Thus, a third-party expert will continue to reassess the sites at various times for at least five years.
A discussion of legal proceedings related to this matter can be found in Note 21 “Legal Proceedings – Government Proceedings – McNeil Consumer Healthcare”
of the Notes to Consolidated Financial Statements included in Item 8 of this Report.
         For information regarding lease obligations, see Note 16 “Rental Expense and Lease Commitments” of the Notes to Consolidated Financial Statements
included in Item 8 of this Report. Segment information on additions to property, plant and equipment is contained in Note 18 “Segments of Business and
Geographic Areas” of the Notes to Consolidated Financial Statements included in Item 8 of this Report.



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Item 3.       LEGAL PROCEEDINGS
        The information called for by this item is incorporated herein by reference to the information set forth in Note 21 “Legal Proceedings” of the Notes to
Consolidated Financial Statements included in Item 8 of this Report.
         In addition, Johnson & Johnson and its subsidiaries are from time to time party to government investigations, inspections or other proceedings relating
to environmental matters, including their compliance with applicable environmental laws.

Item 4.       MINE SAFETY DISCLOSURES
          Not applicable.

EXECUTIVE OFFICERS OF THE REGISTRANT
         Listed below are the executive officers of the Company as of February 23, 2016. There are no family relationships between any of the executive officers,
and there is no arrangement or understanding between any executive officer and any other person pursuant to which the executive officer was selected. At the
annual meeting of the Board of Directors, the executive officers are elected by the Board to hold office for one year and until their respective successors are elected
and qualified, or until earlier resignation or removal.
         Information with regard to the Directors of the Company, including information for Alex Gorsky, is incorporated herein by reference to the material
captioned “Item 1: Election of Directors” in the Proxy Statement.


Name                                                         Age                                                 Position
Dominic J. Caruso                                             58    Member, Executive Committee; Vice President, Finance; Chief Financial Officer(a)
Peter M. Fasolo                                               53    Member, Executive Committee; Vice President, Global Human Resources(b)
Alex Gorsky                                                   55    Chairman, Board of Directors; Chairman, Executive Committee; Chief Executive Officer
Sandra E. Peterson                                            57    Member, Executive Committee; Group Worldwide Chairman(c)
Paulus Stoffels                                               54    Member, Executive Committee; Chief Scientific Officer; Worldwide Chairman,
                                                                    Pharmaceuticals(d)
Michael H. Ullmann                                            57    Member, Executive Committee; Vice President, General Counsel(e)
_______________________________________

(a)       Mr. D. J. Caruso joined the Company in 1999 when the Company acquired Centocor, Inc. At the time of that acquisition, he had been Senior Vice
          President, Finance of Centocor. Mr. Caruso was named Vice President, Finance of Ortho-McNeil Pharmaceutical, Inc., a subsidiary of the Company, in
          2001 and Vice President, Group Finance of the Company’s Medical Devices and Diagnostics Group in 2003. In 2005, Mr. Caruso was named Vice
          President of the Company’s Group Finance organization. Mr. Caruso became a Member of the Executive Committee and Vice President, Finance and
          Chief Financial Officer in 2007.
(b)       Dr. P. M. Fasolo joined the Company in 2004 as Vice President, Worldwide Human Resources for Cordis Corporation, a subsidiary of the Company. He
          was then named Vice President, Global Talent Management for the Company. He left Johnson & Johnson in 2007 to join Kohlberg Kravis Roberts & Co.
          as Chief Talent Officer. Dr. Fasolo returned to the Company in 2010 as the Vice President, Global Human Resources, and in 2011, he became a Member
          of the Executive Committee.
(c)       Ms. S. E. Peterson joined the Company in 2012 as Group Worldwide Chairman and a Member of the Executive Committee, with responsibility for the
          Consumer Group of Companies, consumer medical device businesses in the Vision Care and Diabetes Care franchises, and functions such as Johnson &
          Johnson Supply Chain, Information Technology, Wellness and Prevention and Global Strategic Design. Prior to joining Johnson & Johnson, Ms. Peterson
          had an extensive global career in healthcare, consumer goods and consulting. Most recently, she was Chairman and Chief Executive Officer of Bayer
          CropScience AG in Germany, previously serving as President and Chief Executive Officer of Bayer Medical Care and President of Bayer HealthCare
          AG's Diabetes Care Division. Before joining Bayer in 2005, Ms. Peterson held a number of leadership roles at Medco Health Solutions (previously known
          as Merck-Medco). Among her responsibilities was the application of information technology to healthcare systems.



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(d)       Dr. P. Stoffels joined the Company in 2002 with the acquisition of Virco and Tibotec, where he was Chief Executive Officer of Virco and Chairman of
          Tibotec. In 2005, he was appointed Company Group Chairman, Global Virology where he led the development of PREZISTA ® and INTELENCE ® ,
          leading products for the treatment of HIV. In 2006, he assumed the role of Company Group Chairman, Pharmaceuticals, with responsibility for worldwide
          research and development for the Central Nervous System and Internal Medicine Franchises. Dr. Stoffels was appointed Global Head, Research &
          Development, Pharmaceuticals, in 2009, and in 2011 became Worldwide Chairman, Pharmaceuticals, with responsibility for the Company's therapeutic
          pipeline through global research and development and strategic business development. In 2012, Dr. Stoffels was also appointed Chief Scientific Officer,
          with responsibility for enterprise-wide innovation and product safety, and a Member of the Executive Committee.
(e)       Mr. M. H. Ullmann joined the Company in 1989 as a corporate attorney in the Law Department. He was appointed Corporate Secretary in 1999 and
          served in that role until 2006. During that time, he also held various management positions in the Law Department. In 2006, he was named General
          Counsel, Medical Devices and Diagnostics. Mr. Ullmann was appointed Vice President, General Counsel and a Member of the Executive Committee in
          2012.

                                                                             PART II

Item 5.       MARKET FOR REGISTRANT’S COMMON EQUITY, RELATED STOCKHOLDER MATTERS AND ISSUER PURCHASES OF
              EQUITY SECURITIES
         As of February 19, 2016, there were 158,749 record holders of common stock of the Company. Additional information called for by this item is
incorporated herein by reference to the following sections of this Report: Item 7 “Management’s Discussion and Analysis of Results of Operations and Financial
Condition – Liquidity and Capital Resources – Dividends” and “— Other Information Common Stock Market Prices”; Note 17 “Common Stock, Stock Option
Plans and Stock Compensation Agreements” of the Notes to Consolidated Financial Statements included in Item 8; and Item 12 “Security Ownership of Certain
Beneficial Owners and Management and Related Stockholder Matters – Equity Compensation Plan Information”.

Issuer Purchases of Equity Securities

         On October 13, 2015, the Company announced that its Board of Directors approved a share repurchase program, authorizing the Company to purchase up
to $10.0 billion of the Company's Common Stock. Share repurchases take place on the open market from time to time based on market conditions. The repurchase
program has no time limit and may be suspended for periods or discontinued at any time.

         The following table provides information with respect to common stock purchases by the Company during the fiscal fourth quarter of 2015. Common
stock purchases on the open market are made as part of a systematic plan to meet the needs of the Company’s compensation programs. The repurchases below also
include the stock-for-stock option exercises that settled in the fiscal fourth quarter.
                                                                                                               Total Number of         Maximum Number (or
                                                                                                               Shares (or Units)     Approximate Dollar Value) of
                                                                       Total Number                          Purchased as Part of     Shares (or Units) that May
                                                                         of Shares            Avg. Price     Publicly Announced      Yet Be Purchased Under the
                               Period                                  Purchased (1)        Paid Per Share   Plans or Programs (2)      Plans or Programs (3)
September 28, 2015 through October 25, 2015                               1,134,367     $           96.45                        -                -
October 26, 2015 through November 22, 2015                                6,298,421                100.21              5,408,965                  -
November 23, 2015 through January 3, 2016                                11,330,068                102.30              4,462,352                  -
 Total                                                                    18,762,856                                   9,871,317                   87,618,945
(1) During the fiscal fourth quarter of 2015, the Company repurchased an aggregate of 18,762,856 shares of Johnson & Johnson Common Stock in open-market

        transactions, of which 9,871,317 shares were purchased pursuant to the repurchase program that was publicly announced on October 13, 2015, and of which
        8,891,539 shares were purchased in open-market transactions as part of a systematic plan to meet the needs of the Company’s compensation programs.
(2)   As of January 3, 2016, an aggregate of 9,871,317 shares were purchased for a total of $1.0 billion since the inception of the repurchase program announced on
      October 13, 2015.
(3)   As of January 3, 2016, the maximum number of shares that may yet be purchased under the plan is 87,618,945 based on the closing price of Johnson &
      Johnson Common Stock on the New York Stock Exchange on December 31, 2015 of $102.72 per share.



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Item 6.            SELECTED FINANCIAL DATA

                                                                 Summary of Operations and Statistical Data 2005-2015
(Dollars in Millions Except Per Share
Amounts)                                            2015           2014         2013          2012          2011        2010       2009       2008      2007       2006      2005
Sales to customers — U.S.                         $35,687         34,782        31,910        29,830       28,908       29,450    30,889     32,309    32,444     29,775    28,377
Sales to customers — International                 34,387         39,549        39,402        37,394       36,122       32,137    31,008     31,438    28,651     23,549    22,137
Total sales                                        70,074         74,331        71,312        67,224       65,030       61,587    61,897     63,747    61,095     53,324    50,514
Cost of products sold                              21,536         22,746        22,342        21,658       20,360       18,792    18,447     18,511    17,751     15,057    14,010
Selling, marketing and administrative
expenses                                           21,203         21,954        21,830        20,869       20,969       19,424    19,801     21,490    20,451     17,433    17,211
Research and development expense                   9,046           8,494         8,183         7,665         7,548       6,844     6,986      7,577     7,680      7,125     6,462
In-process research and development                 224              178           580         1,163            —          —          —         181       807        559       362
Interest income                                     (128)             (67)         (74)          (64)          (91)       (107)      (90)      (361)     (452)      (829)     (487)
Interest expense, net of portion capitalized        552              533           482           532          571         455        451        435       296         63        54
Other (income) expense, net                        (2,064)            (70)       2,498         1,626         2,743        (768)     (526)    (1,015)      534       (671)     (214)
Restructuring                                       509               —             —             —           569          —       1,073         —        745         —         —
                                                   50,878         53,768        55,841        53,449       52,669       44,640    46,142     46,818    47,812     38,737    37,398
Earnings before provision for taxes on
income                                            $19,196         20,563        15,471        13,775       12,361       16,947    15,755     16,929    13,283     14,587    13,116
Provision for taxes on income                      3,787           4,240         1,640         3,261         2,689       3,613     3,489      3,980     2,707      3,534     3,056
Net earnings                                       15,409         16,323        13,831        10,514         9,672      13,334    12,266     12,949    10,576     11,053    10,060
Add: Net loss attributable to noncontrolling
interest                                             —                —             —            339            —          —          —          —         —          —         —
Net earnings attributable to Johnson &
Johnson                                            15,409         16,323        13,831        10,853         9,672      13,334    12,266     12,949    10,576     11,053    10,060
Percent of sales to customers                      22.0%            22.0          19.4          16.1          14.9        21.7      19.8       20.3      17.3       20.7      19.9
Diluted net earnings per share of common
stock (1)                                          $5.48            5.70          4.81          3.86          3.49        4.78      4.40       4.57      3.63       3.73      3.35
Percent return on average shareholders’
equity                                             21.9%            22.7          19.9          17.8          17.0        24.9      26.4       30.2      25.6       28.3      28.2
Percent increase (decrease) over
previous year:
Sales to customers                                 (5.7)%             4.2           6.1          3.4           5.6        (0.5)      (2.9)       4.3     14.6         5.6       6.7
Diluted net earnings per share                     (3.9)%           18.5          24.6          10.6         (27.0)        8.6       (3.7)     25.9       (2.7)     11.3      22.3

Supplementary balance sheet data:
Property, plant and equipment, net                 15,905         16,126        16,710        16,097       14,739       14,553    14,759     14,365    14,185     13,044    10,830
Additions to property, plant and equipment         3,463           3,714         3,595         2,934         2,893       2,384     2,365      3,066     2,942      2,666     2,632
Total assets (2)                                  133,411        130,358       131,754      121,347       113,644      102,908    94,682     84,912    80,954     70,556    58,864
Long-term debt                                     12,857         15,122        13,328        11,489       12,969        9,156     8,223      8,120     7,074      2,014     2,017
Operating cash flow                                19,279         18,471        17,414        15,396       14,298       16,385    16,571     14,972    15,022     14,248    11,799

Common stock information
Dividends paid per share                           $2.95            2.76          2.59          2.40          2.25        2.11      1.93      1.795      1.62      1.455     1.275
Shareholders’ equity per share                     25.82           25.06         26.25         23.33         20.95       20.66     18.37      15.35     15.25      13.59     13.01
Market price per share (year-end close)           $102.72         105.06         92.35         69.48         65.58       61.85     64.41      58.56     67.38      66.02     60.10
Average shares outstanding (millions)

      — basic                                      2,771.8       2,815.2       2,809.2       2,753.3       2,736.0     2,751.4    2,759.5    2,802.5   2,882.9    2,936.4   2,973.9
      — diluted                                    2,812.9       2,863.9       2,877.0       2,812.6       2,775.3     2,788.8    2,789.1    2,835.6   2,910.7    2,961.0   3,002.8
Employees (thousands)                              127.1           126.5         128.1         127.6         117.9       114.0     115.5      118.7     119.2      122.2     115.6
(1)
      Attributable to Johnson & Johnson. (2) Amounts have been reclassified to conform to current year presentation.




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Item 7.      MANAGEMENT’S DISCUSSION AND ANALYSIS OF RESULTS OF OPERATIONS AND FINANCIAL CONDITION

Organization and Business Segments
Description of the Company and Business Segments
Johnson & Johnson and its subsidiaries (the Company) have approximately 127,100 employees worldwide engaged in the research and development, manufacture
and sale of a broad range of products in the health care field. The Company conducts business in virtually all countries of the world with the primary focus on
products related to human health and well-being.
     The Company is organized into three business segments: Consumer, Pharmaceutical and Medical Devices. The Consumer segment includes a broad range of
products used in the baby care, oral care, skin care, over-the-counter pharmaceutical, women’s health and wound care markets. These products are marketed to the
general public and sold both to retail outlets and distributors throughout the world. The Pharmaceutical segment is focused on five therapeutic areas, including
immunology, infectious diseases, neuroscience, oncology, and cardiovascular and metabolic diseases. Products in this segment are distributed directly to retailers,
wholesalers, hospitals and health care professionals for prescription use. The Medical Devices segment includes a broad range of products used in the orthopaedic,
surgery, cardiovascular, diabetes care and vision care fields which are distributed to wholesalers, hospitals and retailers, and used principally in the professional
fields by physicians, nurses, hospitals, eye care professionals and clinics.
     The Executive Committee of Johnson & Johnson is the principal management group responsible for the strategic operations and allocation of the resources of
the Company. This Committee oversees and coordinates the activities of the Consumer, Pharmaceutical and Medical Devices business segments.
     In all of its product lines, the Company competes with companies both locally and globally, throughout the world. Competition exists in all product lines
without regard to the number and size of the competing companies involved. Competition in research, involving the development and the improvement of new and
existing products and processes, is particularly significant. The development of new and innovative products, as well as protecting the underlying intellectual
property of the Company's product portfolio, is important to the Company’s success in all areas of its business. The competitive environment requires substantial
investments in continuing research. In addition, the development and maintenance of customer demand for the Company’s consumer products involves significant
expenditures for advertising and promotion.

Management’s Objectives
The Company manages within a strategic framework with Our Credo as the foundation. The Company believes that our strategic operating principles: being
broadly based in human health care, managing the business for the long term, having a decentralized management approach, and being committed to our people
and values, are crucial to successfully meeting the demands of the rapidly evolving markets in which we compete. To this end, management is focused on our long-
term strategic growth drivers: creating value through innovation, expanding our global reach with a local focus, excellence in execution and leading with purpose.
     The Company is broadly based in human health care, and is committed to creating value by developing accessible, high quality, innovative products and
services. New products introduced within the past five years accounted for approximately 25% of 2015 sales. In 2015, $9.0 billion, or 12.9% of sales, was invested
in research and development, reflecting management’s commitment to delivering new and differentiated products and services to meet evolving health care needs
and sustain the Company’s long-term growth.
     Our diverse businesses with more than 250 operating companies located in 60 countries are the key drivers of the Company’s success. Maintaining the
Company’s decentralized management approach, while at the same time leveraging the extensive resources of the enterprise, positions the Company well to
innovate, execute strategic plans and reach markets globally, as well as address the needs and challenges of the local markets.
     In order to remain a leader in health care, the Company strives to maintain a purpose-driven organization and is committed to developing global business
leaders who can achieve these growth objectives. Businesses are managed for the long-term in order to sustain market leadership positions and enable growth,
which provides an enduring source of value to our shareholders.
     Our Credo unifies all Johnson & Johnson employees in achieving these objectives, and provides a common set of values that serve as the foundation of the
Company’s responsibilities to patients, consumers and health care professionals, employees, communities and shareholders. The Company believes that these
foundational values, its strategic framework and long-term growth drivers, along with its overall mission of improving the quality of life for people around the
world, will enable Johnson & Johnson to continue to be a leader in the health care industry.




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Results of Operations
Analysis of Consolidated Sales
In 2015, worldwide sales decreased 5.7% to $70.1 billion, compared to increases of 4.2% in 2014 and 6.1% in 2013. These sales changes consisted of the
following:

Sales increase/(decrease) due to:                                                                    2015                   2014                 2013
Volume                                                                                                      1.2 %                  6.3                   7.6
Price                                                                                                       0.6                    (0.2)                 0.1
Currency                                                                                                    (7.5)                  (1.9)                (1.6)
Total                                                                                                       (5.7)%                 4.2                   6.1

In 2015, the introduction of competitive products to the Company's Hepatitis C products, OLYSIO ® /SOVRIAD ® (simeprevir) and INCIVO ® (telaprevir), had a
negative impact of 2.7% on the worldwide operational sales growth. In 2015, the impact of acquisitions and divestitures on the worldwide operational sales growth
was negative 2.0%.
     In 2014, sales of the Company's Hepatitis C products, OLYSIO ® /SOVRIAD ® (simeprevir) and INCIVO ® (telaprevir), had a positive impact of 2.8%, and
the divestiture of the Ortho-Clinical Diagnostics business had a negative impact of 1.4% on the worldwide operational growth. In 2013, the acquisition of Synthes,
Inc., net of the related divestiture, increased worldwide operational growth by 2.5%.
     Sales by U.S. companies were $35.7 billion in 2015, $34.8 billion in 2014 and $31.9 billion in 2013. This represents increases of 2.6% in 2015, 9.0% in 2014
and 7.0% in 2013. Sales by international companies were $34.4 billion in 2015, $39.5 billion in 2014 and $39.4 billion in 2013. This represents a decrease of
13.1% in 2015, and increases of 0.4% in 2014 and 5.4% in 2013.
     The five-year compound annual growth rates for worldwide, U.S. and international sales were 2.6%, 3.9% and 1.4%, respectively. The ten-year compound
annual growth rates for worldwide, U.S. and international sales were 3.3%, 2.3% and 4.5%, respectively.
     Sales by companies in Europe experienced a decline of 15.6% as compared to the prior year, including operational growth of 1.1%, offset by a negative
currency impact of 16.7%. Sales by companies in the Western Hemisphere (excluding the U.S.) experienced a decline of 15.6% as compared to the prior year,
including operational growth of 2.6% offset by a negative currency impact of 18.2%. Sales by companies in the Asia-Pacific, Africa region experienced a decline
of 8.1% as compared to the prior year, including operational growth of 0.3% and a negative currency impact of 8.4%.
     2015 results benefited from the inclusion of a 53rd week. (See Note 1 to the Consolidated Financial Statements for Annual Closing Date details). The
Company estimated that the fiscal year 2015 growth rate was enhanced by approximately 1.0%. While the additional week added a few days to sales, it also added
a full week's worth of operating costs; therefore, the net earnings impact was negligible.
     In 2015 and 2014, the Company had one wholesaler distributing products for all three segments that represented approximately 12.5% and 11.0%,
respectively, of the total consolidated revenues. In 2013, the Company did not have a customer that represented 10% or more of total consolidated revenues.

U.S. Health Care Reform
     On July 28, 2014, the Internal Revenue Service issued final regulations for the Branded Prescription Drug Fee, an annual non-tax deductible fee imposed on
entities engaged in the business of manufacturing or importing branded prescription drugs (covered entities), enacted by Section 9008 of the Patient Protection and
Affordable Care Act. The final regulations accelerated the expense recognition criteria for the fee obligation by one year, from the year in which the fee is paid to
the year in which the sales used to calculate the fee occur. This change impacted covered entities and resulted in the need for all entities to record an additional
expense in 2014 for the fee that would have otherwise been expensed when paid in 2015. The Company accrued an additional $220 million in the fiscal third
quarter of 2014 due to this change. The fee associated with this accelerated expense was paid, as scheduled, in 2015 and had no cash impact in 2014.




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Analysis of Sales by Business Segments
Consumer Segment
Consumer segment sales in 2015 were $13.5 billion, a decrease of 6.8% from 2014, which included 2.7% operational growth offset by a negative currency impact
of 9.5%. U.S. Consumer segment sales were $5.2 billion, an increase of 2.5%. International sales were $8.3 billion, a decrease of 11.9%, which included 2.7%
operational growth offset by a negative currency impact of 14.6%. In 2015, divestitures had a negative impact of 1.4% on the worldwide Consumer segment
operational growth.

Major Consumer Franchise Sales:

                                                                                                                                     % Change
(Dollars in Millions)                                                2015               2014              2013             ’15 vs. ’14         ’14 vs. ’13
OTC                                                            $         3,975              4,106             4,028                (3.2)%                1.9
Skin Care                                                                3,531              3,758             3,704                (6.0)                 1.5
Baby Care                                                                2,044              2,239             2,295                (8.7)                (2.4)
Oral Care                                                                1,580              1,647             1,622                (4.1)                 1.5
Women’s Health                                                           1,200              1,302             1,568                (7.8)               (17.0)
Wound Care/Other                                                         1,177              1,444             1,480               (18.5)                (2.4)
Total Consumer Sales                                           $        13,507            14,496             14,697                (6.8)%               (1.4)

     The Over-the-Counter (OTC) franchise sales of $4.0 billion decreased 3.2% as compared to the prior year, which included 8.1% operational growth and a
negative currency impact of 11.3%. Operational growth was primarily driven by analgesics, upper respiratory, including ZYRTEC ® , and digestive health
products.
     McNEIL-PPC, Inc. (now Johnson & Johnson Consumer Inc.) (McNEIL-PPC) continues to operate under a consent decree, signed in 2011 with the U.S. Food
and Drug Administration (FDA), which governs certain McNeil Consumer Healthcare manufacturing operations and requires McNEIL-PPC to remediate the
facilities it operates in Lancaster, Pennsylvania; Fort Washington, Pennsylvania; and Las Piedras, Puerto Rico (the Consent Decree). In February 2015, a third-
party expert submitted written certification to the FDA for all three manufacturing sites. Following FDA inspections in 2015, McNEIL-PPC received notifications
from the FDA that all three manufacturing facilities are in conformity with applicable laws and regulations. Under the Consent Decree, after receiving notice from
the FDA of being in compliance with applicable laws and regulations, each of the three facilities is subject to a five-year audit period by a third-party cGMP
expert. Thus, a third-party expert will continue to reassess the sites at various times for at least five years.
     The Skin Care franchise sales of $3.5 billion decreased 6.0% as compared to the prior year, which included 1.3% operational growth and a negative currency
impact of 7.3%. Operational growth was primarily due to sales growth of NEUTROGENA ® and AVEENO ® products partially offset by lower sales in China.
     The Baby Care franchise sales were $2.0 billion in 2015, a decrease of 8.7% compared to the prior year, which included 1.2% operational growth and a
negative currency impact of 9.9%. Operational growth was primarily due to new product launches partially offset by competition in China.
     The Oral Care franchise sales were $1.6 billion in 2015, a decrease of 4.1% as compared to the prior year, which included 5.2% operational growth and a
negative currency impact of 9.3%. Operational growth was driven by increased sales of LISTERINE ® products, attributable to geographical expansion of new
products and successful marketing campaigns.
     The Women’s Health franchise sales were $1.2 billion in 2015, a decrease of 7.8% as compared to the prior year, which included 7.6% operational growth and
a negative currency impact of 15.4%. Operational growth outside the U.S. was driven by new product launches and successful marketing campaigns.
     The Wound Care/Other franchise sales were $1.2 billion in 2015, a decrease of 18.5% from 2014, primarily due to the SPLENDA ® and BENECOL ®
divestitures.
     Consumer segment sales in 2014 were $14.5 billion, a decrease of 1.4% from 2013, which included 1.0% operational growth offset by a negative currency
impact of 2.4%. U.S. Consumer segment sales were $5.1 billion, a decrease of 1.3%. International sales were $9.4 billion, a decrease of 1.4%, which included 2.3%
operational growth offset by a negative currency impact of 3.7%.




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Pharmaceutical Segment
Pharmaceutical segment sales in 2015 were $31.4 billion, a decrease of 2.7% from 2014, which included operational growth of 4.2% offset by a negative currency
impact of 6.9%. U.S. sales were $18.3 billion, an increase of 5.2%. International sales were $13.1 billion, a decrease of 12.0%, which included 3.0% operational
growth offset by a negative currency impact of 15.0%. The Pharmaceutical segment operational growth was negatively impacted by 6.5% due to the introduction
of competitive products to the Company's Hepatitis C products, OLYSIO ® /SOVRIAD ® (simeprevir) and INCIVO ® (telaprevir), and positively impacted by 1.4%
due to an adjustment to previous reserve estimates, including Managed Medicaid rebates primarily in the Cardiovascular/Metabolism/Other therapeutic area. In
2015, divestitures had a negative impact of 0.3% on the worldwide Pharmaceutical segment operational growth.

Major Pharmaceutical Therapeutic Area Sales: *

                                                                                                                                       % Change
(Dollars in Millions)                                                        2015           2014              2013           ’15 vs. ’14       ’14 vs. ’13
Total Immunology                                                        $      10,402         10,193             9,190                2.1 %           10.9
    REMICADE       ®                                                            6,561           6,868            6,673                (4.5)             2.9
    SIMPONI ® /SIMPONI ARIA ®                                                   1,328           1,187                932           11.9               27.4
    STELARA ®                                                                   2,474           2,072            1,504             19.4               37.8
    Other Immunology                                                                   39          66                81           (40.9)              (18.5)
Total Infectious Diseases                                                       3,656           5,599            3,550            (34.7)              57.7
    EDURANT ®                                                                       410            365               236           12.3               54.7
    OLYSIO     ® /SOVRIAD ®                                                         621         2,302                23           (73.0)                **
    PREZISTA ® / PREZCOBIX ® /REZOLSTA ®                                        1,810           1,831            1,673                (1.1)             9.4
    Other Infectious Diseases                                                       815         1,101            1,618            (26.0)              (32.0)
Total Neuroscience                                                              6,259           6,487            6,667                (3.5)            (2.7)
    CONCERTA ® /methylphenidate                                                     821            599               782           37.1               (23.4)
    INVEGA ® /paliperidone                                                          573            640               583          (10.5)                9.8
   INVEGA SUSTENNA ® /XEPLION ® /INVEGA TRINZA ®                                1,830           1,588            1,248             15.2               27.2
    RISPERDAL ® CONSTA ®                                                            970         1,190            1,318            (18.5)               (9.7)
    Other Neuroscience                                                          2,065           2,470            2,736            (16.4)               (9.7)
Total Oncology                                                                  4,695           4,457            3,773                5.3             18.1
    IMBRUVICA ®                                                                     689            200               —           **                     —
    VELCADE ®                                                                   1,333           1,618            1,660            (17.6)               (2.5)
    ZYTIGA ®                                                                    2,231           2,237            1,698                (0.3)           31.7
    Other Oncology                                                                  442            402               415           10.0                (3.1)
Cardiovascular / Metabolism / Other***                                          6,418           5,577            4,945             15.1               12.8
    XARELTO ®                                                                   1,868           1,522                864           22.7               76.2
    INVOKANA        ®/   INVOKAMET   ®                                          1,308              586               123         **                     **
    PROCRIT ® /EPREX ®                                                          1,068           1,238            1,364            (13.7)               (9.2)
    Other                                                                       2,174           2,231            2,594                (2.6)           (14.0)
Total Pharmaceutical Sales                                              $      31,430         32,313            28,125                (2.7)%          14.9
* Prior year amounts have been reclassified to conform to current year presentation.
** Percentage greater than 100%
***Previously referred to as Other

     Immunology products achieved sales of $10.4 billion in 2015, representing an increase of 2.1% as compared to the prior year. Immunology products growth of
2.1% included operational growth of 6.9% and a negative currency impact of 4.8%. The increased sales of STELARA ® (ustekinumab) and SIMPONI ® /SIMPONI
ARIA ® (golimumab) were due to market growth and increased penetration of SIMPONI ARIA ® . Growth was partially offset by lower REMICADE ®
(infliximab) sales to the Company's distributor primarily due to the weakening of the euro and biosimilar competition in Europe. The patents for REMICADE ® in
certain countries in Europe expired in February 2015. Biosimilar versions of REMICADE ® have been introduced in certain markets outside the United States,
resulting in a reduction in sales of REMICADE ® in those markets.



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Additional biosimilar competition will likely result in a further reduction in REMICADE ® sales in markets outside the United States. The timing of the possible
introduction of a biosimilar version of REMICADE ® in the United States is subject to enforcement of patent rights, approval by the FDA and compliance with the
180-day notice provisions of the Biologics Price Competition and Innovation Act (the BPCIA). On February 9, 2016, the Arthritis Advisory Committee of the FDA
recommended by a vote of 21-3 to approve the first investigational biosimilar infliximab across all eligible indications in the United States. There is a risk that a
competitor could launch a biosimilar version of REMICADE ® following FDA approval (subject to compliance with the 180-day notice provisions of the BPCIA),
even though one or more valid patents are in place. Introduction to the U.S. market of a biosimilar version of REMICADE ® will result in a reduction in U.S. sales
of REMICADE ® . In 2015, U.S. sales of REMICADE ® were $4.5 billion. The launch of a biosimilar version of REMICADE ® in the U.S. is not expected to have
a material adverse effect on the Company’s results of operations and cash flows in 2016. See Note 21 to the Consolidated Financial Statements for legal matters
regarding the REMICADE ® patents.
     Infectious disease products sales were $3.7 billion, a decline of 34.7% from 2014, which included an operational decrease of 27.6% and a negative currency
impact of 7.1%. Competitive products to the Company's Hepatitis C products, OLYSIO ® /SOVRIAD ® (simeprevir) and INCIVO ® (telaprevir), had a significant
negative impact on U.S. sales and will continue to have a negative impact on future sales. The decline of Hepatitis C sales was partially offset by sales growth of
EDURANT ® (rilpivirine) and sales of PREZISTA ® / PREZCOBIX ® /REZOLSTA ® (darunavir/cobicistat).
     Neuroscience products sales were $6.3 billion, a decrease of 3.5% from 2014, which included an operational growth of 5.0% and a negative currency impact
of 8.5%. The U.S. sales growth of CONCERTA ® /methylphenidate was primarily due to a therapeutic equivalence reclassification of generic competitors by the
FDA in November 2014. Strong sales of INVEGA SUSTENNA ® /XEPLION ® /INVEGA TRINZA ® (paliperidone palmitate) were primarily due to increased
market share and the launch of INVEGA TRINZA ® . Neuroscience products sales were negatively impacted by the U.S. divestiture of NUCYNTA ® (tapentadol)
and lower sales of RISPERDAL ® CONSTA ® (risperidone) .
     Oncology products achieved sales of $4.7 billion in 2015, representing an increase of 5.3% as compared to the prior year. Oncology products growth of 5.3%
included operational growth of 17.7% and a negative currency impact of 12.4%. Contributors to the growth were strong sales of IMBRUVICA ® (ibrutinib) due to
the approval of new indications, additional country launches and strong patient uptake. Additionally, sales of ZYTIGA ® (abiraterone acetate) grew in the U.S. due
to market growth partially offset by share decline, and strong growth in Asia and Latin America was partially offset by lower sales in Europe due to competition.
     Cardiovascular/Metabolism/Other products achieved sales of $6.4 billion in 2015, representing an increase of 15.1% as compared to the prior year due to
strong sales of XARELTO ® (rivaroxaban) and INVOKANA ® /INVOKAMET ® (canagliflozin). PROCRIT ® /EPREX ® (Epoetin alfa) sales were impacted by
competition.




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